
724 S.E.2d 534 (2012)
In the Matter of Lorenzo RICHARDSON.
No. 65P12.
Supreme Court of North Carolina.
April 12, 2012.
David W. Andrews, Assistant Appellate Defender, for Richardson, Lorenzo.
Janette Soles Nelson, Assistant Attorney General, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 21st of February 2012 by Respondent in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 12th of April 2012."
